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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                    :
                    v.              :                     CRIMINAL ACTION FILE
                                    :
           JEROME BUSHAY,           :                     NO. 1:10-CR-521-01-TCB/AJB
                                    :
                        Defendant.  :

                                    ORDER FOR SERVICE OF
                                 REPORT AND RECOMMENDATION

                 Attached is the Report and Recommendation (“R&R”) of the United States

           Magistrate Judge made in accordance with 28 U.S.C. § 636(b)(1) and

           N.D. Ga. CrR. 58.1(A)(3)(a), (b). Let the same be filed, and a copy of the R&R,

           together with a copy of this Order, shall be served upon counsel for the parties.

                 Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections to the

           R&R within fourteen (14) days of service of this Order. Should objections be filed,

           they shall specify with particularity the alleged error(s) made (including reference by

           page number to the transcript if applicable) and be served upon the opposing party. See

           United States v. Gaddy, 894 F.2d 1307, 1315 (11th Cir. 1990). The party filing

           objections will be responsible for obtaining and filing the transcript of any evidentiary




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           hearing for review by the District Court. Failure to object in accordance with this rule

           waives a party’s right to review. Fed. R. Crim. P. 59(b)(2).

                 Pursuant to 18 U.S.C. § 3161(h)(1)(H), the above-referenced fourteen (14) days

           allowed for filing objections is EXCLUDED from the computation of time under the

           Speedy Trial Act (“the Act”), whether or not objections are actually filed. If objections

           to this R&R are filed, the Clerk is DIRECTED to EXCLUDE from the computation

           of time all time between the filing of the R&R and the submission of the R&R, along

           with any objections, responses, and replies thereto, to the District Judge.

           18 U.S.C. § 3161(h)(1)(D), (H); Henderson v. United States, 476 U.S. 321, 331 (1986);

           United States v. Mers, 701 F.2d 1321, 1337 (11th Cir. 1983). The Clerk is DIRECTED

           to submit the R&R with objections, if any, to the District Court after expiration of the

           above time period.

                 IT IS SO ORDERED and DIRECTED, this the 24th day of January, 2012.




                                                   ALAN J. BAVERMAN
                                                   UNITED STATES MAGISTRATE JUDGE




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                           IN THE UNITED STATES DISTRICT COURT
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           UNITED STATES OF AMERICA :
                                    :
                    v.              :                    CRIMINAL ACTION FILE
                                    :
           JEROME BUSHAY,           :                    NO. 1:10-CR-521-01-TCB/AJB
                                    :
                        Defendant.  :

                     UNITED STATES MAGISTRATE JUDGE’S ORDER AND
                         FINAL REPORT AND RECOMMENDATION

                 Before the Court are the following pretrial motions filed by Defendant Jerome

           Bushay: (1) motion to suppress statements, [Doc. 155]; (2) motion to suppress

           evidence, [Doc. 156]; (3) first motion to suppress search and seizure re: 943 Peachtree,

           Apt. 707, [Doc. 278], supplemented by Document 326; (4) first motion to suppress

           search and seizure re: 6746 Grey Rock Way, [Doc. 279], supplemented by

           Document 327; (5) motion to suppress search and seizure re: hotel room, [Doc. 280];

           (6) motion to suppress search and seizure re: traffic stop, [Doc. 282]; and (7) motion

           to sever defendant re: Bruton problem, [Doc. 283]. For the following reasons, the

           undersigned RECOMMENDS that the all of the suppression motions be DENIED

           except that it is RECOMMENDED that the motion to suppress search and seizure re:




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           traffic stop, [Doc. 282], be GRANTED AS MOOT. Further, the severance motion,

           [Doc. 283], is DEFERRED to the District Court.

           I.    Motion to suppress statements, [Doc. 155]; motion to suppress evidence,
                 [Doc. 156]; and motion to suppress search and seizure re: hotel room,
                 [Doc. 280]:

                 These motions concern Bushay’s arrest on December 15, 2010, in Tampa,

           Florida, the search of a hotel room, and statements made by Bushay. The Court held

           an evidentiary hearing on the motions. [Doc. 449].

                 A. Facts

                 On the morning of December 15, 2010, Pinellas County Sheriff’s Office

           Detective/DEA Task Force Officer (“TFO”) Jeff McConaughey was called by DEA

           Atlanta TFO T.K. Gordon, who advised that several individuals indicted in Atlanta, and

           for whom arrest warrants had issued, were in the Tampa area.                Transcript

           (“T”) 11 [Doc. 449]. Gordon identified the subjects and told McConaughey where

           these individuals supposedly were located. T11, 30. At the time of Gordon’s call,

           McConaughey was independently conducting an investigation in Tampa of one of

           Bushay’s co-defendants, Christopher Williams. T31. McConaughey assembled a team

           of DEA agents and TFOs and went to an area northeast of Tampa near the fairgrounds,

           where there were several hotels. T11-12. At first, the agents did not know the specific

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           hotel where the subjects were staying, but they knew through Title III wire intercepts

           that the subjects were located in room 308 of one of the hotels in that area. T12, 31.

           Surveilling agents observed two subjects, identified as Bushay and Williams, leave the

           Fairfield Inn in a silver or light blue Honda van,1 and agents surveilled them to a IHOP

           restaurant closer to downtown Tampa. T12-13, 36. By this time, there were 10 to 15

           DEA agents, TFOs, and Tampa Police officers in the law-enforcement team. T16.

                 McConaughey arrived at the IHOP at noon and saw Williams walking back

           towards the van. Agents already on the scene told McConaughey that the van’s other

           occupant (Bushay, in the driver’s seat) was still in the vehicle. T14, 34.2 As the Honda

           van was preparing to leave the parking lot, the takedown signal was given and

           McConaughey blocked the van with his vehicle.            T14.   With his gun drawn,

           McConaughey removed Bushay from the van, placed him in handcuffs and put him on

           the ground, and at the same time other agents descended on the van and arrested

           Williams. T15, 16.




                 1
                        Another individual, a Mr. Lobban, was in a separate van. T35, 40.
                 2
                        McConaughey knew who Williams was because he was investigating him.
           He did not know Bushay, nor had he seen a photograph of him prior to the arrests. T36.

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                 McConaughey was dressed in street clothes but was wearing a tactical vest

           clearly identifying him as a police officer, along with a gun belt and his badge. T15-16.

           In searching Bushay, McConaughey found plastic credit-card type hotel room keys in

           a key sleeve. T16. He told Bushay that there were warrants for his arrest, but did not

           tell him the nature of the charges. T17.3 Bushay was placed in the back of a marked

           police car. T17, 18. He was not given his Miranda rights at that time because there

           was no intention to question him at the scene. T17. McConaughey turned the plastic

           keys over to his group supervisor and then went to the DEA office. T18, 33. The entire

           episode at the IHOP lasted less than 10 minutes. T18. The agents did not linger at that

           location because it was lunchtime at the business. T18. The DEA office was a 5-

           minute drive from the IHOP. T18.

                 Once at the DEA office, McConaughey took Bushay to the processing and

           interview room.4, 5 The room was 12 feet by 12 feet and contained a large desk with



                 3
                         McConaughey did not tell Bushay the nature of the charges because he did
           not want to compromise the investigation in Atlanta since other persons were being
           arrested that day. T17.
                 4
                        Bushay was placed briefly in a cell. T19.
                 5
                       Williams was also processed.         After being detained, Lobban was
           released. T40.

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           multiple chairs. T27. McConaughey was no longer armed, nor was he wearing his

           tactical vest. T27. McConaughey did not threaten Bushay nor make him any promises.

           T27. McConaughey read Bushay his rights from a DEA Form 13A, (Gov’t Exh. 7).

           T21.6 In response, Bushay replied, “Yes, I’ll talk to you.” T22. McConaughey did not

           present Bushay with a written waiver form. T41. McConaughey began by asking

           Bushay some basic questions about his presence in Florida, since McConaughey did

           not know much about the Atlanta investigation. Bushay told him about coming into

           town and staying at the hotel, followed by McConaughey asking whether Bushay had

           any property left at the hotel. T22. Bushay responded that he had left a gun in the hotel




                  6
                        Those rights were as follows:

                  Before we ask you any questions, you must understand you have the right
                  to remain silent. Anything you say can be used against you in court. You
                  have the right to talk to a lawyer for advice before we ask you any
                  questions and to have a lawyer with you during questioning. If you
                  cannot afford a lawyer, one will be appointed for you before any
                  questioning, if you wish. Do you understand? Are you willing to answer
                  some questions?

           T21.

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           night stand. T22, 33.7 Other agents were sent to the hotel with the plastic keys to

           retrieve the gun. T24.

                 DEA Task Force Agents Nicholas Marolda and Dexter McGee went to the

           Fairfield Inn at about noon to seize the firearm left in room 308. T47, 48, 49.8 Marolda

           was dressed in plain clothes, with his firearm covered by his shirt but his badge

           displayed. T49. The agents expected the room to be empty. T48, 66. They contacted

           the hotel manager, told him they were going to be entering a room, and he accompanied

           them to the floor where room 308 was located, but stayed down the hall. T48, 67. The

           agents knocked on the door, and after 10 to 20 seconds, were surprised when Keisean

           Scarlett opened the door.9 T48-49, 68.10 Scarlett appeared as if he had just woken up.

           T49. Marolda identified himself as a law-enforcement agent. T49. Scarlett tried to

                 7
                         Based on wire intercepts, the agents already knew in what hotel room the
           subjects were staying. T23. Seeing Bushay, Williams, and Lobban leave the Fairfield
           Inn, together with the plastic keys seized from Bushay when he was arrested, confirmed
           for the agents that room 308 was at the Fairfield Inn.
                 8
                        The hotel was a 30-minute drive from the DEA’s office. T67.
                 9
                      Marolda did not use the plastic key seized from Bushay to gain entry into
           the room. T80.
                 10
                         Scarlett was the registrant for room 308, but at the time of their initial
           approach to the room, the agents did not know that. Gov’t Exh. 5; T51, 70. The
           registration form reflected that cash was paid for the one-night room rental and there
           was to be one guest in the room. Gov’t Exh. 5; T51-52.

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           shut the door, but Marolda stuck his foot in the door. T68. Scarlett turned around and

           moved towards the bed. T50. The agents drew their weapons. T51. Since Marolda

           assumed there was a firearm in the room, he did not enter the room, but rather verbally

           commanded Scarlett to return to the door while showing his hands and get on the floor.

           T50, 70. Scarlett complied and was handcuffed. T50, 70.

                 Scarlett told the agents, and they observed, that another person, subsequently

           identified as Chadwick Williams, was in the room sleeping. T49, 50, 70-71. He was

           told to show his hands, and after several requests, he complied and was secured. T49,

           50, 71. Scarlett and Chadwick Williams were placed in the hallway inside the hotel

           room. T72. Securing both subjects took about 45 seconds. T72. The room was swept

           for the presence of any other persons. T72, 73.

                 After sweeping the room, the agents brought Scarlett and Williams back into the

           room. T73.11    One was seated on a chair and another was placed on a bed. T75.

           Marolda asked for their names and dates of birth. T72-73, 77. Marolda explained they

           were there to search the room for a firearm. T49.




                 11
                       The agents also called the Hillsborough County Sheriff’s Office for
           backup and uniformed presence. T77, 79.

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                 Scarlett told Marolda that he had gotten into the room, took a shower and fell

           asleep, and that is why he was slow in answering the door. T54. Marolda asked him

           if there was a gun in the room, and he replied that it was in the night stand between the

           beds. T54. Marolda asked him if he knew the gun was there and if he touched it;

           Scarlett responded he knew it was there, he touched it and was going to call “Jerome”

           to ask why he left the gun in the room. T54, 76.12

                 Marolda seized the firearm from the night stand, and gave it to McGee, who

           cleared it and secured it. T54, 76-77. A warrants-and-criminal-history check was run

           (to see if Scarlett or Williams were convicted felons), with negative results. T77, 78.

                 At approximately 12:35 p.m., Scarlett and Williams signed a consent-to-search

           form for the room, Gov’t Exh. 3; T52-53, but Marolda could not say whether the form

           was signed before or after the firearm was seized. T78. He also testified that he “had

           consent to search the room - - verbal consent to search the room and then we had

           written - - and then we received written consent as well.” T81; see also T83.




                 12
                         A subsequent Firearms Trace Summary reflected that the firearm was not
           registered to Bushay. Gov’t Exh.6; T58.

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                 The questioning of Scarlett and Williams took approximately 30 minutes. T77.

           They were then uncuffed and walked downstairs to the manager’s office, where Scarlett

           and Williams were asked by the management to leave the hotel. T77.13

                 Meanwhile, back at the DEA office, Gordon called McConaughey on his cell

           phone around 1:17 p.m. T24, 25, 41. McConaughey handed the phone to Bushay in

           order for Gordon to record a voice exemplar. T24-25. Although McConaughey could

           not hear Gordon’s side of that conversation, Bushay did not invoke his right to an

           attorney while speaking with Gordon, T28, nor did he invoke his right to remain silent.

           T29.14 After Bushay spoke with Gordon, McConaughey began questioning Bushay

           about the Atlanta case, particularly whether Williams was involved in the Atlanta case

           with him. T28, 44. At that point, Bushay responded that, “I better talk to an attorney

           first.” T28, 43; see also T45. McConaughey did not question Bushay further. T28.




                 13
                        Williams also signed a consent-to-search form for his vehicle after he was
           back in his vehicle. Gov’t Exh. 4; T54, 79. The record does not reflect either the time
           the consent-to-search form was signed nor the results of that
           search. See Gov’t Exh. 4; T79.
                 14
                        The audio recording and transcript of the telephone conversation between
           Bushay and Gordon were marked as exhibits but not admitted at the hearing. Gov’t
           Exhs. 1, 2; T25-26.

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                 B. Issues

                 The evidence at the hearing and the parties’ post-hearing briefs raise three issues

           to be decided: Bushay’s standing to challenge the search and seizure of the firearm

           from room 308 of the Fairfield Inn; if he has standing, whether the gun was properly

           seized; and whether his post-arrest statements were obtained in compliance with

           Miranda and were otherwise voluntary.

                 C.     Discussion

                        1.     Bushay’s Standing

                               a.     Contentions of the Parties

                 Bushay argues that he has standing to challenge the search of the hotel room and

           the seizure of the firearm. [Doc. 461 at 7]. He contends that the record demonstrates

           that he had a privacy interest in the room as a social guest at room 308 of the Fairfield

           Inn, since (1) the wire intercept disclosed he was staying in room 308; (2) he was

           observed leaving from the Fairfield Inn; (3) he was found to be in possession of plastic

           room keys from the hotel (although he recognizes that possession of the keys alone

           does not establish standing); (4) the record contains no other evidence of keys to

           room 308, [id. at 8]; (5) the hotel registry lists one guest in addition to Scarlett in the

           room, [id. at 8-9]; (6) there is no evidence in the record to suggest that Bushay’s

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           presence in the hotel room was for an illegal purpose, and thus as a social guest, he had

           the same expectation of privacy as he would have in his own home, [id. at 9-10]; (7) his

           possession of two keys reflects the hotel management’s recognition that more than one

           person was staying in room 308, [id. at 10]; (8) the occupants of the room had not

           checked out, nor had they abandoned the room, [id.]15; (9) McConaughey’s testimony

           that “[i]t was implied because [Bushay] said, ‘I left a gun in the night stand,’ ” [id. at 11

           (quoting T33)], means that law enforcement thought it was his room; (10) he left an

           expensive item (the firearm) in the hotel room, which is an indicia of his expectation

           of privacy; and (11) the wire intercepts disclosed that Bushay had arrived late from

           Atlanta, was staying in room 308 and there is no evidence that he stayed anywhere else,

           [id. at 12].

                  Bushay also argues that he had a possessory interest in the firearm seized which,

           he contends, was interfered with even if he does not have a privacy interest in the

           placed searched. [Id. at 12].




                  15
                          Curiously, he then argues that “the registered guest was still in Room 308,
           in bed,” [Doc. 461 at 10], presumably referring to Chadwick Williams. Such an
           argument cuts against his claim of having an expectation of privacy in the hotel room
           as a result of there being one registered guest, assuming that that reference on the hotel
           bill is to a guest in addition to the person who registered for the room, Scarlett.

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                  In response, the government argues that Bushay has failed to allege sufficient

           facts to establish standing to challenge the search of room 308. It argues, based on the

           four-factor test set out in United States v. Carter, 854 F.2d 1102, 1105 (8th Cir. 1988),

           which the government asserts was approved by the Eleventh Circuit in United States

           v. Cooper, 203 F.3d 1279 (11th Cir. 2000), first, that Bushay was not in the room at the

           time of the search. It contends that there is no testimony that Bushay was ever inside

           the room, but only that he was in the parking lot of the hotel premises. [Doc. 465 at 8].

           It further claims that Bushay never told McConaughey which room he was staying in,

           nor that he was “staying” in any hotel room, but rather that he left a firearm in the night

           stand of a hotel room, which McConaughey inferred was room 308 from the wiretap.

           [Id. at 8-9].

                  Next, the government contends that the evidence demonstrates that Bushay did

           not pay, check in, or register for the room. It asserts that the keys taken off Bushay

           were never described as fitting room 308. [Id. at 9]. The government then argues that

           there is no evidence that Bushay had any personal belongings in the hotel room, other

           than the firearm. As to the firearm, the government argues that Bushay is not entitled

           to the inference that he was a guest in the hotel room because the firearm was found

           there, contending that it is equally plausible that Bushay never entered the room and

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           gave the gun to Scarlett for safekeeping. [Id. at 10]. It further argues that, because

           Scarlett and Chadwick Williams were in the room, Bushay had no ability to exclude

           others from it. [Id. at 11].

                 The government also argues that Bushay has failed to demonstrate that he fit

           within the definition of a “social guest” in the hotel room because he did not establish

           that he was a guest for personal, rather than commercial purposes, as required by

           Eleventh Circuit precedent. [Id.].16 The government concedes that there is no evidence

           in the record that Bushay was using the hotel room for narcotics trafficking, but

           contends that the evidence makes it highly unlikely that Bushay, Scarlett, Chadwick

           Williams and Christopher Williams were staying in the hotel room for social reasons,

           and in any event there is no evidence that Bushay was ever in the room. [Id. at 11-12].

                 Fourth, the government argues that Bushay has not properly asserted a

           possessory interest in the firearm apart from a privacy interest in the hotel room,

           because while he knew of the gun’s location, he was not present when the firearm was

           seized, it was not registered in his name, and he lacked exclusive control over it.

           [Id. at 13-14].

                 16
                       In arguing this point, the government referenced the Eleventh Circuit’s
           Cooper decision, 203 F.3d at 1283 n.3, but actually cited to United States v. Garcia,
           854 F.2d 1280, 1283 (11th Cir. 1988).

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                 In his reply, Bushay argues that his and Scarlett’s statements and the presence

           of the firearm clearly demonstrate that he was present in the room, contrary to the

           government’s contention. [Doc. 468 at 2]. He argues that Scarlett’s comments and call

           to him evidenced Bushay’s belief that the firearm would be safe in the room and that

           he had not abandoned it. He argues that placing the firearm in the night stand or some

           other private place in the room demonstrates his level of authority, access, and

           control. [Id. at 3]. He also argues that McConaughey did not ask him directly whether

           he was staying in room 308 because it was obvious that he was. [Id. at 4-5].

                 He next argues that the Cooper and Carter cases upon which the government

           relies actually support his arguments. He contends that Carter is distinguishable

           because none of that defendant’s personal belongings were left in the room, but in the

           present case, Bushay left an expensive firearm in the hotel room. As for the factors

           discussed in Carter, Bushay argues that he had been in the room and left property in

           the room; and while he concedes that the record does not reflect that he paid for the

           room, he contends that others could be excluded by his possession of the two room

           keys. [Id. at 7]. He further argues that a hotel guest that takes the keys with him

           demonstrates his intention to exclude others. [Id. at 8]. He then asks the Court to take

           notice of the intercepted calls, which demonstrate that the intercepting agents knew that

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           Bushay was in a hotel room numbered 308 but did not know the hotel in which the

           room was located, followed by Bushay being in possession of the keys upon his arrest,

           demonstrating dominion and control. [Id. at 8-9].

                 Bushay also distinguishes Cooper, where the registered guest had abandoned the

           room. In this case, Bushay argues, guests of the room were still sleeping inside the

           room. As to the government’s argument that Bushay was arrested far from the room,

           Bushay argues that there is nothing unusual about an out-of-town guest going out to eat

           at lunchtime, and to accept the government’s argument would be to find that a hotel

           guest cannot venture from his room. [Id. at 9-10]. He further contends that Cooper is

           different from this case because here there is no allegation that the hotel occupants used

           the room for unlawful purposes. [Id. at 10-11].

                 Finally, Bushay argues that contrary to the government’s argument that he did

           not demonstrate a possessory interest in the firearm, his and Scarlett’s statements and

           his placement of the firearm in the night stand establish his possessory

           interest. [Id. at 11-12].

                               b.      Applicable Law

                 The Fourth Amendment prohibits “unreasonable searches and seizures.”

           U.S. Const. amend. IV. To challenge a seizure as violating the Fourth Amendment, a

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           defendant must have “standing,”17 i.e., a legitimate expectation of privacy in the

           premises. See United States v. Gonzalez, 940 F.2d 1413, 1420 n.8 (11th Cir. 1991); see

           also United States v. Epps, 613 F.3d 1093, 1097 (11th Cir. 2010) (“ ‘[O]nly individuals

           who have a legitimate expectation of privacy in the area invaded may invoke the

           protections of the Fourth Amendment.’ ”) (quoting United States v. Lee, 586 F.3d 859,

           864 (11th Cir. 2009)). As a result, the Fourth Amendment protects an individual in

           those places where he can demonstrate a reasonable expectation of privacy against

           government intrusion. See Katz v. United States, 389 U.S. 347, 353 (1967). Fourth

           Amendment rights are personal, and only individuals who actually enjoy the reasonable

           expectation of privacy may challenge the validity of a government search. Rakas v.

           Illinois, 439 U.S. 128, 133-34, 143 (1978); Cooper, 203 F.3d at 1284. The Fourth

           Amendment protects a person’s reasonable expectation of privacy in his hotel or motel

           room. Stoner v. California, 376 U.S. 483, 489-90 (1964); United States v. Mercer,


                 17
                        The undersigned recognizes that the Supreme Court disapproves of the use
           of the word “standing” in this context. See Rakas v. Illinois, 439 U.S. 128, 139-40
           (1978); see also United States v. Hawkins, 681 F.2d 1343, 1344-45 (11th Cir. 1982).
           However, the undersigned will use the word “standing” when referring to whether the
           defendant has an expectation of privacy because the parties have used this term and
           courts routinely use “standing” as “shorthand for the existence of a privacy or
           possessory interest sufficient to assert a Fourth Amendment claim.” United States v.
           Daniel, 982 F.2d 146, 149 n.2 (5th Cir. 1993).

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           541 F.3d 1070, 1074 (11th Cir. 2008); Cooper, 203 F.3d at 1284; United States v.

           Bulman, 667 F.2d 1374, 1383-84 (11th Cir. 1982).

                 An individual has standing to challenge a search if “(1) he has a subjective

           expectation of privacy, and (2) society is prepared to recognize that expectation as

           objectively reasonable.” United States v. Harris, 526 F.3d 1334, 1338 (11th Cir. 2008).

           That is, a defendant must establish both a subjective and an objective expectation of

           privacy. United States v. Segura-Baltazar, 448 F.3d 1281, 1286 (11th Cir. 2006);

           United States v. Robinson, 62 F.3d 1325, 1328 (11th Cir. 1995). The subjective prong

           is a factual inquiry, United States v. McKennon, 814 F.2d 1539, 1543 (11th Cir. 1987);

           see also United States v. Jones, 184 Fed. Appx. 943, 947 (11th Cir. June 22, 2006), and

           “requires that a person exhibit an actual expectation of privacy,” United States v. King,

           509 F.3d 1338, 1341 (11th Cir. 2007) (quoting Segura-Baltazar, 448 F.3d at 1286). The

           objective prong is a question of law, McKennon, 814 F.2d at 1543, and “requires that

           the privacy expectation be one that society is prepared to recognize as reasonable,”

           King, 509 F.3d 1338, 1341 (11th Cir. 2007) (quoting Segura-Baltazar, 448 F.3d

           at 1286).

                 Courts assess on a case-by-case basis the standing of a particular person to

           challenge an intrusion by government officials into an area over which that person

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           lacked primary control. Oliver v. United States, 466 U.S. 170, 191 n.13 (1984). No

           one circumstance is dispositive in this inquiry. “While property ownership is clearly

           a factor to be considered in determining whether an individual’s Fourth Amendment

           rights have been violated, property rights are neither the beginning nor the end

           of . . . [the] inquiry.” United States v. Salvucci, 448 U.S. 83, 92 (1980) (citation

           omitted). Other factors to be weighed include whether the defendant has a possessory

           interest in the thing seized or the place searched, whether he has the right to exclude

           others from that place, whether he has exhibited a subjective expectation that it would

           remain free from governmental invasion, whether he took normal precautions to

           maintain his privacy, and whether he was legitimately on the premises. United States

           v. Pitt, 717 F.2d 1334, 1337 (11th Cir. 1983); United States v. Haydel, 649 F.2d 1152,

           1154-55 (5th Cir. Unit A July 8, 1981)18; see also Rawlings v. Kentucky, 448 U.S. 98,

           105 (1980); Rakas, 439 U.S. at 147-49. As the very listing of these factors

           demonstrates, the expectation must be based on considerations outside of the Fourth

           Amendment. Id. at 142-145 n.12. The Eleventh Circuit has held that where the

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                         The Eleventh Circuit has adopted as binding precedent decisions of the
           Fifth Circuit, including Unit A panel decisions of that circuit, rendered prior to
           October 1, 1981. See United States v. Todd, 108 F.3d 1329, 1333 n.5 (11th Cir. 1997);
           Limelight Productions, Inc., v. Limelite Studios, Inc., 60 F.3d 767, 769 n.1
           (11th Cir. 1995).

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           defendant is neither the owner nor the lessee of the place searched, to be able to contest

           a search he must “ ‘demonstrate a significant and current interest’ ” in the property at

           the time it was searched. United States v. Miller, 387 Fed. Appx. 949, 951 (11th Cir.

           July 21, 2010) (quoting United States v. Garcia, 741 F.2d 363, 366 (11th Cir. 1984).

           That is, the defendant may have a reasonable expectation of privacy in a hotel room he

           does not rent if he shows “an unrestricted right of occupancy or custody and control of

           the premises as distinguished from occasional presence on the premises as a mere guest

           or invitee,” United States v. Baron–Mantilla, 743 F.2d 868, 870 (11th Cir. 1984). Cf.

           id. (discussing standing in context of home of third party).

                 Finally, the burden is on the defendant to show by a preponderance of the

           evidence that he had a legitimate expectation of privacy in the area searched. Harris,

           526 F.3d at 1338; United States v. Brazel, 102 F.3d 1120, 1147 (11th Cir. 1997); United

           States v. Golphin, No. 6:10-cr-291-Orl-28GJK, 2011 WL 2446561, at *1 (M.D. Fla.

           June 15, 2011) (citing United States v. Cantley, 130 F.3d 1371, 1377 (10th Cir. 1997),

           for the proposition that the movant must show by a preponderance of the evidence that

           he has a legitimate expectation of privacy).




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                               c.     Analysis

                 The Court concludes that Bushay has failed to establish a legitimate expectation

           of privacy in room 308 of the Fairfield Inn. First, he did not establish a subjective

           expectation of privacy since he did not show that he had an unrestricted right of

           occupancy or custody and control of the premises as distinguished from occasional

           presence on the premises as a mere guest or invitee. He has failed to establish that the

           hotel room was rented in his name, that he paid for the room, or that he was the

           registered additional guest. See Brazel, 102 F.3d at 1147-48 (holding that defendant

           lacked a subjective expectation of privacy in an apartment because he had failed to

           show that “he was the tenant or had an unrestricted right of occupancy or control in the

           apartment at the time of the search”). The evidence shows that Scarlett was the

           registered lessee of the room by virtue of paying the rental fee and having his name on

           the hotel registry. Gov’t Exh. 5. Although Bushay argues that he was the person

           referred to on the hotel registry as “guest,” it is more likely that that term refers to the

           hotel’s understanding that only one person was staying in the room. In any event, in

           light of the fact that Chadwick Williams was asleep in the room at the time that law

           enforcement arrived (and at least one other person, Christopher Williams, also could




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           be said to have been an invited guest of the registrant), there is no evidence that Bushay

           was the “guest,” as suggested by Bushay.

                 Other facts confirm that Bushay failed to prove a subjective expectation of

           privacy in room 308. Bushay described his presence in the area as having “met

           friends,” T23, as opposed to, for example, directly stating that he was staying at the

           hotel. Also, he points to no evidence in the record showing that he referred to the room

           as “his” as opposed to “the” or “a” hotel room, which points to a conclusion that it was

           not his hotel room. And, while Bushay possessed two hotel room keys, he never

           proved that these keys in fact were the keys to room 308. In any event, as he concedes,

           possession of a key to a hotel room, without more, does not establish a reasonable

           expectation of privacy in the room. Cooper, 203 F.3d at 1286 n.7 (citing United States

           v. Conway, 73 F.3d 975, 980 (10th Cir. 1995)). Nor did Bushay prove that the vehicle

           he was operating was a vehicle that was “registered” for room 308.

                 Recognizing these facts, Bushay attempts to come under the rubric established

           in cases addressing “overnight guests.” Even there, Bushay refers to his situation as

           that of a “social guest.” In any event, Bushay did not demonstrate that he qualified as

           an overnight guest, as in Minnesota v. Olson, 495 U.S. 91, 99-100 (1990), nor was he

           using the hotel for lodging, as found in United States v. Ramos, 12 F.3d 1019

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           (11th Cir. 1994). Other than the firearm, Bushay produced no evidence that his personal

           belongings (such as suitcases or clothing) were in the hotel room. He only told

           McConaughey he was there to meet friends, not stay overnight in the hotel room. In

           short, in order to agree with his theory that he qualifies as an overnight guest with

           standing to contest the search, the Court would have to take the minimal evidence

           produced and stack inference upon inference in order to conclude that he had a

           legitimate expectation of privacy in the hotel room.

                 Moreover, that the agents believed he was staying in the room does not assist

           Bushay in proving standing, because a defendant may not establish standing by relying

           on the government’s theory of the case. United States v. Singleton, 987 F.2d 1444,

           1449 (9th Cir. 1993); United States v. McNeal, 82 F. Supp. 2d 945, 950 (S.D. Ind.

           2000); see also United States v. Thompson, 171 Fed. Appx. 823, 828 (11th Cir. Mar. 27,

           2006) (concluding that motion to suppress relying on government contention that room

           was rented by defendant was insufficient to demonstrate standing to warrant an

           evidentiary hearing); United States v. Henry, No. 1:09-cr-522-TCB-GGB,

           2010 WL 5559207, at *4 (N.D. Ga. Dec. 7, 2010) (R&R), adopted at 2011 WL 65762

           (N.D. Ga. Jan. 7, 2011)) (“The Government correctly contends that Defendant cannot

           show standing simply through the contentions of Government agents or the theory of

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           the Government’s case.” (citing United States v. Zermeno, 66 F.3d 1058, 1062 (9th Cir.

           1995)).

                 In addition, Bushay has failed to establish an objective expectation of privacy in

           room 308 because at most he was only a casual visitor. See Minnesota v. Carter,

           525 U.S. 83, 90 (1998) (making important distinction between overnight guests and

           casual guests, holding that “an overnight guest in a home may claim the protection of

           the Fourth Amendment, but one who is merely present with the consent of the

           householder may not”); see also United States v. Larios, 593 F.3d 82, 93 (1st Cir. 2010)

           (no objective expectation of privacy where defendant, who did not rent hotel room nor

           have key, stayed for a few minutes); United States v. Rodríguez-Lozada, 558 F.3d 29,

           37 (1st Cir. 2009) (holding that a defendant who was “a casual visitor for a brief period”

           in another person’s apartment had no reasonable expectation of privacy in the

           apartment); United States v. Agapito, 620 F.2d 324, 334 (2d Cir. 1980) (holding that

           a casual visitor to a hotel room does not have a legitimate expectation of privacy).

                 Next, the Court considers whether Bushay has standing to challenge the seizure

           of the firearm despite the fact that he has no standing to challenge the search of the

           hotel room or the night stand therein. At first blush, there is language in caselaw

           supporting this argument. In one case, the Eleventh Circuit appears to have recognized

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           that a person may possess standing when he has a reasonable expectation of privacy

           from governmental intrusion in the items seized. United States v. Delgado, 903 F.2d

           1495, 1451 (11th Cir. 1990) (citing Mancusi v. DeForte, 392 U.S. 364, 368 (1968)). In

           the context of an employee’s right to challenge the seizure of personal items when his

           employer’s premises were searched, the Delgado Court concluded as follows:

                 As one commentator has stated, “[i]t may be significant . . . that [the item
                 seized] is a personal possession of the defendant and not something
                 connected with the operation of the business.” 3 W. LaFave, Search and
                 Seizure § 11.3, at 566 (1978). Indeed, it appears that, where the
                 defendant’s possession was the object of the search, the defendant has
                 standing to challenge the search even though he does not have an
                 expectation of privacy in the premises searched. See United States v.
                 Alewelt, 532 F.2d 1165, 1167 (7th Cir. [ ] (1976); see also Martinez[v.
                 Nygaard, 831 F.2d [822,] 826 [(9th Cir. 1987)] (court finds no standing
                 based on fact that person had “no possessory interest in the place searched
                 or things seized” (emphasis added)). We hold, therefore, that Escobar has
                 standing to challenge the seizure of his shirt and the papers contained
                 therein.

           Delgado, 903 F.2d at 1502; see also Lenz v. Winburn, 51 F.3d 1540, 1550 n.10

           (11th Cir. 1995) (stating that possessory interest is all that is needed for the Fourth

           Amendment’s reasonableness requirement to apply to a seizure where “the search and

           the seizure were inextricably linked,” and citing Soldal v. Cook Cnty., Ill., 506 U.S. 56,

           63-64 (1992), and United States v. Jacobsen, 466 U.S. 109, 113 (1984), which defined

           a Fourth Amendment seizure as “a meaningful interference with an individual’s

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           possessory interest in that property” (emphasis added)); Rakas, 439 U.S. at 142 n.11

           (which explained, in dicta, that casual visitor to another’s house would not have

           standing to challenge the search of the house, noting that “[t]his is not to say that such

           visitors could not contest the lawfulness of the seizure of evidence or the search if their

           own property were seized during the search”).

                 In Soldal, the Supreme Court held that

                 seizures of property are subject to Fourth Amendment scrutiny even
                 though no search within the meaning of the Amendment has taken place.
                 See, e.g., Jacobsen, [466 U.S. at 120-25]; [United States v. Place,
                 462 U.S. 696, 706-07 (1983)]; Cardwell [v. Lewis, 417 U.S. 583, 588-89
                 (1974)]. [ ] More generally, an officer who happens to come across an
                 individual’s property in a public area could seize it only if Fourth
                 Amendment standards are satisfied - - for example, if the items are
                 evidence of a crime or contraband. Cf. Payton v. New York, [445 U.S.
                 573, 587 (1980)].

           Soldal, 506 U.S. at 68-69 (footnote omitted).




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                 Despite this facially applicable language,19 the Court first concludes that these

           cases are inapplicable to the standing issue in this case. Delgado and Mancuso involve

           the gray area of an employee’s expectation of privacy during a search of his employer’s

           premises.   Soldal is distinguishable because that case did not involve Fourth

           Amendment standing or an expectation of privacy at all, but rather discussed whether

           the plaintiffs could bring a 42 U.S.C. § 1983 action against local law enforcement for

           the claimed unlawful seizure of their mobile home even if their privacy was not

           infringed under the Fourth Amendment. Soldal, 506 U.S. at 72. While the Court there

           concluded that an improper seizure was actionable, that case did not address the

           question in the present case: whether a defendant can assert an improper-seizure claim


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                         As discussed in the text supra, the Court recognizes the language in
           Delgado but notes that in more recent cases, the Eleventh Circuit has steadfastly held
           that a “ ‘legitimate expectation of privacy [must] be proven by factors beyond mere
           possession, such as a right to exclude or a right to privacy.’ ” United States v. Harris,
           526 F.3d 1334, 1338 (11th Cir. 2008) (quoting United States v. Espinosa-Orlando,
           704 F.2d 507, 512 (11th Cir. 1983)); see also Rakas, 439 U.S. at 143-44 & n.12; United
           States v. Campbell, 434 Fed. Appx. 805, 809 (11th Cir. July 13, 2011) (“Although
           possession or ownership is one factor courts may consider when determining whether
           a defendant has a legitimate expectation of privacy in an object, it ‘is not a proxy for
           determining whether the owner had a Fourth amendment interest, for it does not
           invariably represent the protected Fourth Amendment interest.’ ”) (quoting United
           States v. Salvucci, 448 U.S. 83, 91 (1980)). Nonetheless, because the undersigned is
           not authorized to ignore Delgado, the Court discusses Bushay’s claimed possessory
           interest in the firearm.

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           to property seized from a location in which he has no legitimate expectation of privacy;

           in Soldal, the plaintiffs were literally dispossessed from their property. Similarly,

           footnote 11 in Rakas affords no support to Bushay, because the Court has not been

           directed to any cases, and has found none, where a court permitted someone like

           Bushay - - at most a casual visitor - - to invoke the Fourth Amendment to challenge the

           seizure of his own property when the visitor was not present at the time of the search

           and seizure. See, e.g., United States v. Sosa, No. CRIM.A. 05-44-1, 2005 WL 3303869,

           at *3 (E.D. Pa. Dec.2, 2005) (no expectation of privacy in duffle bag left in mother’s

           home since defendant’s residence was elsewhere, he was at most a casual visitor, and

           he did not testify that he left bag in mother’s home for safekeeping). Compare United

           States v. Waller, 426 F.3d 838, 842-45 (6th Cir. 2005) (defendant had standing where

           he had permission from friend to store personal belongings at friend’s apartment, which

           included firearms in luggage bag stored in friend’s bedroom closet, friend did not have

           authority to consent to search because friend and defendant had a mutual understanding

           that luggage contained defendant’s private personal effects and defendant had “shown

           by his conduct” that he wished to preserve the contents of a locked suitcase). As a




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           result, the Court rejects Bushay’s argument that the authorities he relies upon afford

           him standing to challenge the seizure of the firearm.20

                 Even if a bare possessory interest allowed Bushay to challenge the seizure of the

           firearm, the Court concludes that no possessory interest of Bushay’s in the firearm has

           been established.     Summarizing the evidence as to the firearm, Bushay told

           McConaughey that he had a gun and that it was in the night stand at the hotel, T22; he

           left it there, T33; Scarlett acknowledged that there was a firearm in the night stand

           between the beds and that he had touched it and was going to call “Jerome” and ask him

           why he left it there, T54, or he called and did not get an answer. T76.




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                         The Court also has considered sua sponte whether the Supreme Court’s
           decision in United States v. Jones, --- S. Ct. ----, 2012 WL 171117 (Jan. 23, 2012),
           mandates a different conclusion. It does not, for that case affirmed that Katz “did not
           erode the principle ‘that, when the Government does engage in physical intrusion of a
           constitutionally protected area in order to obtain information, that intrusion may
           constitute a violation of the Fourth Amendment.’ ” Id., --- S. Ct. at ----,
           2012 WL 171117, at *4 (quoting United States v. Knotts, 460 U.S. 276, 286 (1983)
           (Brennan, J., concurring)). As such, Jones does not establish, or confirm the existence
           of, a constitutional possessory right altogether removed from a constitutional privacy
           right, because both rights are implicated only if the government intrudes on a
           constitutionally protected area. For example, Bushay’s argument perhaps would be
           stronger if the firearm at issue was located in his valise in Scarlett’s hotel room, for the
           valise might qualify as a constitutionally protected area. The night stand drawer in the
           hotel room of a third party does not constitute a constitutionally protect area in this
           case.

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                 From these facts, the Court concludes that Bushay has proven neither a

           subjective nor objective interference with his possessory rights to the firearm sufficient

           to allow him to challenge the warrantless seizure of the firearm. First, Bushay did not

           possess the firearm when it was seized. He left it unsecured in a hotel room in which

           he had no cognizable legitimate expectation of privacy. Second, the firearm was not

           registered in his name. Third, he left what he refers to as an expensive item in the night

           stand of a hotel room for which he neither paid nor was a registered guest. Compare

           King, 509 F.3d at 1341 (defendant exhibited subjective expectation of privacy by taking

           affirmative steps to install security settings on computer); cf. Robinson, 62 F.3d at 1329

           (defendant had no subjective expectation of privacy where he took no affirmative steps

           to prevent heat from an indoor marijuana cultivation operation from venting into

           atmosphere above his residence). Fourth, he left it not in a case or in a personal

           belonging such as a coat or a valise, but in the drawer of a night stand in a hotel room

           that was not his. (As such, this case is distinguishable from Delgado, where the

           challenging defendant stored personal papers in his own shirt.) Fifth, he did not tell

           Scarlett, who had rented the room, that the gun was left in the night stand. As such, he

           risked Scarlett’s early departure from the room or access to the room by third parties

           such as housekeeping or maintenance. Sixth, he did not prove that the keys removed

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           from him at the time of the arrest were the keys to room 308 of the Fairfield Inn.

           Therefore, he had no way of retrieving this supposedly valuable piece of property

           except through the good graces of Scarlett, who, according to the uncontradicted

           evidence, was unaware initially that the firearm was left in the room, and, at best, was

           unable to contact Bushay about it. As such, he made no efforts to secure the property

           from access by strangers. See United States v. Espinosa–Orlando, 704 F.2d 507, 512

           (11th Cir. 1983) (“A legitimate expectation of privacy [must] be proven by factors

           beyond mere possession, such as a right to exclude or a right to privacy.”).

                  Moreover, even the commentator relied upon by the Delgado Court noted that

           “[a]ssessment of [a] defendant’s privacy expectation vis-a-vis the item may also be

           aided by considering if he dealt with that item in a fashion which reflects an effort on

           his part to maintain privacy.” 6 W. LaFave, Search and Seizure, § 11.3(d) (4th ed.

           2004), at 184. Bushay did not take steps to maintain his privacy or possession of the

           firearm by leaving it in the night stand of a hotel room in which he had no more than

           a fleeting interest.

                  As a result, the undersigned concludes that Bushay does not have standing to

           challenge the seizure of the firearm.




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                        2.    Seizure of the firearm

                 In the event that the District Court concludes that the undersigned is wrong in

           concluding that Bushay lacks standing to challenge the search of room 308 or seizure

           of the firearm, the Court addresses the propriety of the warrantless search and seizure.

                              a.     Contentions of the Parties

                 The government asserts that the firearm was properly seized because the third

           parties in the room, Scarlett and Chadwick Williams, voluntarily consented. [Doc. 465

           at 14-16].21 Bushay responds that the written consent was not valid because Marolda

           could not state whether it was signed before or after he searched for and seized the

           firearm. [Doc. 468 at 14]. He also argues that any oral consent was not valid because

           Marolda gave no details about how he obtained the consent. [Id. at 15-17].




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                        The government faults Bushay for not addressing the propriety of consent
           in his opening brief, thus depriving them of an opportunity to respond to his arguments
           [Doc. 465 at 14 n.3]. However, Bushay was only directed to address standing and his
           statements in his brief. T86. This is because the government, and not a defendant,
           bears the burden of establishing that a warrantless search and seizure were reasonable
           based upon a recognized exception to the warrant requirement. United States v.
           Bachner, 706 F.2d 1121, 1125-26 (11th Cir. 1983). In his opening brief, Bushay did not
           have to speculate on what grounds the government might raise to justify the search and
           seizure. Thus, he did not have to address this issue in his opening brief.

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                               b.    Applicable Law

                 A search conducted pursuant to consent is a recognized exception to the

           requirements of probable cause and a search warrant. United States v. Harris, 928 F.2d

           1113, 1117 (11th Cir. 1991) (citing United States v. Baldwin, 644 F.2d 381, 383 (5th Cir.

           1981)). “In order for consent to a search to be deemed voluntary, it must be the product

           of an essentially free and unconstrained choice.” United States v. Garcia, 890 F.2d

           355, 360 (11th Cir. 1989). In considering whether a consent to search was voluntary,

           the Court must examine the totality of the circumstances. United States v. Tovar-Rico,

           61 F.3d 1529, 1535 (11th Cir. 1995); see also United States v. Gonzalez, 71 F.3d 819,

           828-32 (11th Cir. 1996) (illustrating factors properly to be considered in totality-of-

           circumstances inquiry).      Further, “ ‘[t]he government bears the burden of

           proving . . . that the consent was not a function of acquiescence to a claim of lawful

           authority but rather was given freely and voluntarily.’ ” United States v. Hidalgo,

           7 F.3d 1566, 1571 (11th Cir. 1993) (quoting United States v. Blake, 888 F.2d 795, 798

           (11th Cir. 1989)). The absence of official coercion is a sine qua non of effective

           consent, as it is axiomatic that “[w]here there is coercion, there cannot be consent.”

           Gonzalez, 71 F.3d at 828 (quoting Bumper v. North Carolina, 391 U.S. 543, 550




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           (1968)); see also Florida v. Bostick, 501 U.S. 429, 438 (1991) ( “ ‘Consent’ that is the

           product of official intimidation . . . is not consent at all.”).

                  The Eleventh Circuit has, on prior occasions, identified a non-exhaustive list of

           relevant factors to consider when making the assessment of whether consent to a

           warrantless search is voluntary: voluntariness of the consenting person’s custodial

           status, the presence of coercive police procedures, the extent and level of the subject’s

           cooperation with police, the subject’s awareness of his right to refuse to consent to the

           search, his education and intelligence, and, significantly, his belief that no incriminating

           evidence will be found. Blake, 888 F.2d at 798-99. However, the failure to advise one

           asked to consent that he has a right to refuse to consent will not invalidate an otherwise

           valid consent to search. United States v. Pineiro, 389 F.3d 1359, 1366 n.4 (11th Cir.

           2004); United States v. Zapata, 180 F.3d 1237, 1242 (11th Cir. 1999).

                  A search is permissible if an officer obtains the voluntary consent of either the

           person whose property is searched or of a third party who possesses common authority

           over the premises. United States v. Bone, 433 Fed. Appx. 831, 833 (11th Cir. July 11,

           2011) (citing Illinois v. Rodriguez, 497 U.S. 177 (1990)). “A third party with common

           authority over the premises [or effects] sought to be searched may provide such

           consent. Common authority is based upon mutual use of property by persons generally

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           having joint access or control.” United States v. Aghedo, 159 F.3d 308, 310 (11th Cir.

           1998) (citation omitted). As noted by the Supreme Court, “[c]ommon authority is, of

           course, not to be implied from the mere property interest a third party has in the

           property . . . but rests rather on the mutual use of the property by persons generally

           having joint access or control for most purposes . . . .” United States v. Matlock,

           415 U.S. 164, 171-72 n.7 (1974). Furthermore, “a warrantless entry is valid when

           based upon the consent of a third party whom the police, at the time of entry,

           reasonably believed possessed common authority over the premises, even if the third

           party does not in fact possess such authority.” United States v. Fernandez, 58 F.3d 593,

           597 (11th Cir. 1995); see also Brazel, 102 F.3d at 1148. “As with other factual

           determinations bearing upon search and seizure, determination of consent to enter must

           be judged against an objective standard: would the facts available to the officer at the

           moment . . . warrant a man of reasonable caution in the belief that the consenting party

           had authority over the premises?” Rodriguez, 497 U.S. at 188 (quoting Terry v. Ohio,

           392 U.S. 1, 21-22 (1968)). It is the government’s burden to establish that Scarlett and

           Chadwick Williams had authority to consent to the search of room 308, Rodriguez,

           497 U.S. at 181, and that they voluntarily consented.




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                               c.     Analysis

                 The Court concludes that, while the record contains more than enough evidence

           that Scarlett was authorized to consent to a search of the hotel room for the firearm, the

           government did not prove that Scarlett (or Williams) voluntarily consented to a search

           of the room. Marolda testified that he had voluntary consent, yet he did not testify as

           to the “form of words, gesture or conduct” that would allow the Court to conclude that

           either of the occupants of room 308 voluntarily consented. See Bumper, 391 U.S.

           at 548-50; United States v. Carter, 378 F.3d 584, 587 (6th Cir. 2004) (holding that

           consent to search “may be in the form of words, gesture or conduct”) (citing United

           States v. Griffin, 530 F.2d 739, 742 (7th Cir. 1976)); see also United States v. Williams,

           650 F. Supp. 2d 633, 672 (W.D. Ky. 2009) (finding that officer’s conclusory testimony

           about consent insufficient to carry government’s burden); United States v. Wing,

           No. A05-042 CR (JWS), 2005 WL 1410844, at *8 (D. Alaska) (R&R) (same).

                 This lack of detail about what was asked of Scarlett or Williams about

           consenting, or how they responded, is compounded by the fact that the only evidence

           about what either of the room occupants was told about the police presence was that

           they “were there to search the room to look for a firearm in the room.” T49. As such,

           the subsequent warrantless search ran afoul of Bumper’s dictate that voluntary consent

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           requires more than mere acquiescence to lawful authority. Bumper, 391 U.S. at 548-49.

           The Court therefore concludes that the government has not proven that the occupants

           of room 308 voluntarily consented to a search of the room.

                 Nor did the government prove voluntary consent due to Scarlett and Williams’s

           execution of the written consent-to-search form. To his credit, Marolda testified that

           he could not recall whether the written consent forms were executed before or after the

           search had been conducted. Under such circumstances, then, an after-the-fact written

           consent is akin to a mere submission to official authority rather than a voluntary

           consent. Although a post-search consent to search may constitute ratification of the

           search, see generally United States v. Reeh, 780 F.2d 1541, 1547 (11th Cir. 1986), the

           record in this case does not support a conclusion that Scarlett and Williams voluntarily

           consented and then ratified their consent by signing the consent-to-search form.

                 That does not end the Court’s analysis, however, because despite the failure of

           the government to prove voluntary consent, the seizure of the weapon was otherwise

           reasonable under the Fourth Amendment.

                 “[R]easonableness is still the ultimate standard” under the Fourth Amendment.

           Camara v. Mun. Court of City and Cnty. of San Francisco, 387 U.S. 523, 539 (1967).

           Viewed objectively, see Horton v. California, 496 U.S. 128, 138 (1990) (noting that

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           “evenhanded law enforcement is best achieved by the application of objective standards

           of conduct, rather than standards that depend upon the subjective state of mind of the

           officer”), the firearm was properly seized under the exigent-circumstances exception

           to the warrant requirement.

                 In United States v. Newsome, 475 F.3d 1221 (11th Cir. 2007), the defendant was

           suspected of having shot his wife and child. Police traced him to a hotel room

           registered in another person’s name. They surrounded the room, and when Newsome

           came out, he was arrested. An officer asked him whether there was anyone or anything

           in the room that he should know about. Newsome told the officer he had a gun,

           indicating towards the night stand. When the officer did not see the weapon, he asked

           Newsome where it was, and Newsome directed him to a black bag where the pistol was

           located. Id. at 1222-23. Newsome was charged federally with being a felon-in-

           possession, and before trial moved to suppress the firearm on Fourth and Fifth

           Amendment grounds. On appeal from his conviction, the Eleventh Circuit affirmed,

           rejecting Newsome’s Fourth and Fifth Amendment challenges. Relevant to the present

           case is the Newsome Court’s rejection of the Fourth Amendment attack by applying an

           exigent-circumstances rationale to support the warrantless search:




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                 [T]he Supreme Court has “long recognized an exigent-circumstances
                 exception to the warrant requirement in the Fourth Amendment
                 context.” [New York v. Quarles, 467 U.S. 649, 653 n.3 (1984)]. Quarles
                 holds that the warrantless seizure of a gun is “objectively reasonable”
                 under the Fourth Amendment when there is a real concern for the safety
                 of the officers present or the public at large. Id. (citations omitted);
                 United States v. Antwine, 873 F.2d 1144, 1147 (8th Cir. 1989).

           Newsome, 475 F.3d at 1226. The Newsome Court found exigent circumstances

           warranted the seizure of the firearm because the officers

                 had reason to believe that Newsome was with another person and “[i]t was
                 not unreasonable for the officers to fear leaving a loaded gun, likely
                 evidence of a crime (the alleged shooting of his wife and child),
                 unattended in a motel room. Nor was it unlikely that a friend, possibly
                 [the person in whose name the room was registered], would return to the
                 room and remove the gun. We have held that officers can seize evidence
                 where there is a fear that it might disappear or be destroyed.” United
                 States v. Blasco, 702 F.2d 1315, 1325 (11th Cir. 1983), [ ] (“The exigent
                 circumstances exception to the fourth amendment warrant requirement
                 applies in ‘those cases where the societal costs of obtaining a warrant,
                 such as danger to law officers or the risk of loss or destruction of
                 evidence, outweigh the reasons for prior recourse to a neutral
                 magistrate.’ ” (quoting Arkansas v. Sanders, 442 U.S. 753, 759[ ]
                 (1979))). The exigent circumstances exception to the Fourth Amendment
                 permitted locating and securing the weapon, making the seizure and
                 subsequent admission of the gun proper.

           Newsome, 475 F.3d at 1226-27.

                 In this case, it was reasonable for the agents to seize the firearm under the

           exigent-circumstances exception. “A warrantless search is allowed . . . where both



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           probable cause and exigent circumstances exist.” United States v. Tobin, 923 F.2d

           1506, 1510 (11th Cir. 1991). First, the agents had probable cause to believe that the

           firearm was in the night stand of room 308 because both Bushay and Scarlett told them

           it was there. In addition, there were exigent circumstances. “Recognized situations in

           which exigent circumstances exist include: ‘danger of flight or escape; danger of harm

           to police officers or the general public; risk of loss, destruction, removal, or

           concealment of evidence; and hot pursuit of a fleeing suspect.’ ” United States v. Reid,

           69 F.3d 1109, 1113 (11th Cir. 1995). As one court has recognized:

                 Exigent circumstances may permit a warrantless search of a home under
                 the “public safety” exception, which permits an officer to search for or
                 seize a dangerous weapon or instrumentality based on the officer’s
                 legitimate concern for the safety of the public or themselves. United
                 States v. Janis, 387 F.3d 682 (8th Cir. 2004) (holding that concern for
                 safety of others allowed police to enter residence, where they discovered
                 firearms in plain view); United States v. Vance, 53 F.3d 220, 222 (8th Cir.
                 1995) (noting that a legitimate concern for safety of law enforcement
                 officers or others constitutes exigent circumstances); United States v.
                 Antwine, 873 F.2d 1144, 1147 (8th Cir. 1989) (holding that search for
                 firearm was permissible where officers witnessed defendant in possession
                 of firearm and planned to leave children unattended in the
                 home); . . . Warden v. Hayden, 387 U.S. 294, 298-299 (1967) (“The
                 Fourth Amendment does not require police officers to delay in the course
                 of an investigation if to do so would gravely endanger their lives or the
                 lives of others.”).




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           United States v. Lawrence, No. CRIM. 05-333(MJD/RLE), 2006 WL 752920, at *1

           (D. Minn. Mar. 26, 2006).

                 Based on Newsome and Lawrence, the Court agrees that the firearm presented

           a danger to the public that the agents were authorized to mitigate by seizing the

           weapon. The agents were aware that Bushay had been indicted for a drug crime in

           Atlanta, and that he was arrested and in custody in Tampa pending removal to this

           District. Bushay claimed to have left the gun in the hotel night stand, which was

           confirmed by Scarlett. Scarlett’s reaction to Marolda was such that a reasonable officer

           would conclude that Scarlett was attempting to distance himself from the firearm when

           he stated that he had called, or was going to call, Bushay to determine why Bushay had

           left the firearm in the hotel night stand. As a result, there was no one present who

           claimed the firearm or who could provide for its safekeeping. It would have been

           unreasonable for the agents to have simply left the firearm in the night stand where it

           could pose significant danger to hotel employees or future guests of room 308. As a

           result, the firearm was properly seized, even if Bushay has standing to challenge its

           warrantless seizure.




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                 In conclusion, the Court RECOMMENDS that Bushay’s motion to suppress the

           firearm be DENIED because he does not have standing to challenge its search or

           seizure.22

                        3. Statements

                               a.    Contentions of the parties

                 Bushay argues that his statements were unlawfully obtained because the

           government failed to obtain a written waiver of his Miranda rights and failed to prove


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                         The government also argues that public policy warrants favors denial of
           the motion to suppress because if the officers had delayed their search and seizure of
           the weapon there could have been serious consequences for the safety of the
           community.        [Doc. 465 at 19].          This argument is a variation on the
           exigent-circumstances discussion adopted by the Court, although the government never
           raised the exigent circumstances doctrine expressly. Instead, it argues that the costs of
           leaving the weapon outweighed the benefits of suppressing the firearm from Bushay’s
           trial. In support it argues that at least one individual knew the weapon was there and
           had handled it. It then argues that since hotel rooms are temporary, the weapon could
           not simply have been left there. Finally the government argues that suppressing the
           evidence in this case would deter officers in the future from seizing known weapons in
           the most timely and efficient manner to safeguard the community. [Id.].

                 Having recommended that the motion to suppress be denied, the Court does not
           need to discuss these arguments in detail. However, given the obvious exigent
           circumstances, the Court is unsure why the government chose to invoke a general
           cost-benefit exception to the exclusionary rule without citing to a single Supreme Court
           or Eleventh Circuit case supporting such an argument. Further, the deficiency in the
           government’s showing on Scarlett’s consent-to-search could likely have been remedied
           by more detailed questioning.

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           that they were obtained freely and voluntarily. He argues that any waiver was

           involuntary given the violence of his arrest and his being whisked away to the

           unfamiliar confines of the DEA office. [Id. at 14]. The government responds that the

           requirements of Miranda were satisfied and that Bushay’s subsequent invocation of his

           right to stop the questioning when it became more pointed demonstrated his

           understanding of his rights. [Doc. 465 at 17-18]. The government also contends that

           his statements were voluntary. [Id. at 18]. In response, Bushay merely relies upon his

           motion and opening brief. [Doc. 468 at 18].

                              b.     Applicable Law

                 The government bears the burden of showing that the defendant’s in-custody

           statements were obtained in compliance with the dictates of Miranda v. Arizona,

           384 U.S. 436 (1966), and were otherwise voluntary. Missouri v. Seibert, 542 U.S. 600,

           608 n.1 (2004); Colorado v. Connelly, 479 U.S. 157, 168 (1986); Miranda, 384 U.S.

           at 475.

                 Under Miranda, “evidence obtained as a result of a custodial interrogation is

           inadmissible unless the defendant had first been warned of his rights and knowingly




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           waived those rights.” United States v. Parr, 716 F.2d 796, 817 (11th Cir. 1983).23 The

           government must prove by a preponderance of the evidence that the defendant waived

           his rights knowingly and voluntarily. Berghuis v. Thompkins, --- U.S. ----, ----,

           130 S. Ct. 2250, 2261 (2010); United States v. Glover, 431 F.3d 744, 748 (11th Cir.

           2005). Also, the government “does not need to show that a waiver of Miranda rights


                 23
                        The Supreme Court in Miranda held that in order fully to apprise a person
           interrogated of the extent of his rights,

                 it is necessary to warn him not only that he has the right to consult with
                 an attorney, but also that if he is indigent a lawyer will be appointed to
                 represent him. Without this additional warning, the admonition of the
                 right to consult with counsel would often be understood as meaning only
                 that he can consult with a lawyer if he has one or has the funds to obtain
                 one. The warning of a right to counsel would be hollow if not couched in
                 terms that would convey to the indigent - - the person most often
                 subjected to interrogation - - the knowledge that he too has a right to have
                 counsel present. As with the warnings of the right to remain silent and of
                 the general right to counsel, only by effective and express explanation to
                 the indigent of this right can there be assurance that he was truly in a
                 position to exercise it.

           Miranda, 384 U.S. at 473 (footnotes omitted)

                  The Supreme Court has held that Miranda warnings that convey the substance
           of the suspect’s rights are sufficient. See Duckworth v. Eagan, 492 U.S. 195, 210-15
           (1989); see also California v. Prysock, 453 U.S. 355, 359 (1981). However, the advice
           given the suspect cannot contradict the warnings required by Miranda. United States
           v. Lall, 607 F.3d 1277, 1283-84 (11th Cir. 2010); Hart v. Attorney Gen. of Florida,
           323 F.3d 884, 894 (11th Cir. 2003).

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           was express,” and “an implicit waiver” of the Miranda rights is sufficient. Thompkins,

           130 S. Ct. at 2261; Hall v. Thomas, 611 F.3d 1259, 1285 (11th Cir. 2010).

                 An accused effectively waives his Miranda rights if he: (1) voluntarily

           relinquishes them as the product of a free and deliberate choice, rather than through

           intimidation, coercion, or deception; and (2) makes his decision with a full awareness

           of both the nature of the rights being abandoned and the consequences of the decision

           to abandon them. United States v. Wright, 300 Fed. Appx. 627, 630 (11th Cir. Nov. 12,

           2008) (citing United States v. Barbour, 70 F.3d 580, 585 (11th Cir. 1995)). A waiver

           is effective where the totality of the circumstances reveal both an uncoerced choice and

           the requisite level of comprehension. Id.

                 The focus of the voluntariness inquiry is on whether the defendant was coerced

           by the government into making the statement: “The relinquishment of the right must

           have been voluntary in the sense that it was the product of a free and deliberate choice

           rather than intimidation, coercion or deception.” Connelly, 479 U.S. at 170 (alteration

           and internal quotation marks omitted). The Court must consider the totality of the

           circumstances in assessing whether any police conduct was “causally related” to the

           confession.   Miller v. Dugger, 838 F.2d 1530, 1536 (11th Cir. 1988).              This

           totality-of-the-circumstances test directs the Court ultimately to determine whether a

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           defendant’s statement was the product of “an essentially free and unconstrained

           choice.” United States v. Garcia, 890 F.2d 355, 360 (11th Cir. 1989). Among the

           factors the Court must consider are the defendant’s intelligence, the length of his

           detention, the nature of the interrogation, the use of any physical force against him, or

           the use of any promises or inducements by police. See Schneckloth v. Bustamonte,

           412 U.S. 218, 226 (1973); Gonzalez, 71 F.3d at 828. However, while the Eleventh

           Circuit has “enumerated a number of (non-exclusive) factors that may bear on the issue

           of voluntariness, the absence of official coercion is a sine qua non of effective

           consent. . . .” Gonzalez, 71 F.3d at 828 (citations omitted). Sufficiently coercive

           conduct normally involves subjecting the accused to an exhaustingly long interrogation,

           the application of physical force or the threat to do so, or the making of a promise that

           induces a confession. See Connelly, 479 U.S. at 163 n.1; Miller, 838 F.2d at 1536;

           United States v. Castaneda-Castaneda, 729 F.2d 1360, 1362-63 (11th Cir. 1984). In

           addition, in any arrest there is present a degree of duress. The question is whether the

           officers used coercive tactics or took unlawful advantage of the arrest situation to

           obtain the statements. Cf. United States v. Jones, 475 F.2d 723, 730 (5th Cir. 1973)

           (discussing consent to search following arrest).




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                               c.    Analysis

                 The Court concludes that the government established that Bushay’s statements

           were obtained in compliance with Miranda and were otherwise voluntary.

                 First, as to compliance with Miranda, McConaughey read Bushay his Miranda

           rights from a DEA Form 13A, so Bushay was made aware of his rights. In response to

           McConaughey’s question as to whether he was willing to answer questions, Bushay

           responded that he was willing to talk to him. In addition, the record is clear that that

           Bushay did not waive his rights and agree to answer questions due to any police

           coercion, deception, or intimidation. Although he argues that the circumstances of his

           arrest constituted coercive and intimidating conduct, the mere fact that he was arrested

           does not prevent a voluntary relinquishment of his Miranda rights, since the

           Miranda decision presupposes a defendant’s custodial status, United States v. Gay,

           774 F.2d 368, 379 & n.18 (10th Cir. 1985) (recognizing that as “a general rule, the

           Miranda warnings presuppose the satisfaction of two conditions - - custody and

           interrogation” and the “essence of Miranda is that when these two conditions coexist

           (custody & interrogation), the environment the suspect is kept in is inherently coercive.

           Miranda is thus intended as a safeguard in counteracting the coercive environment.”);

           and there was nothing unduly violent or coercive about the manner of Bushay’s arrest

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           that would make his waiver a short time later involuntary. See T15-16 (describing

           Bushay’s arrest).

                 Second, the Court reaches the same conclusion as to the voluntariness of

           Bushay’s statements. The questioning began shortly after Bushay’s arrival at the DEA

           offices. He was not promised any benefit nor was he otherwise threatened. The

           questioning by McConaughey and then by Gordon was not prolonged. It is significant

           that Bushay exercised his right to stop answering questions after McConaughey began

           questioning him about his Atlanta activities (following Bushay’s converstion with

           Gordon), as that action demonstrates that Bushay recognized that he had a choice

           whether to answer any questions.

                 As a result, the undersigned RECOMMENDS that Bushay’s motions to

           suppress evidence and statements related to his arrest and the search of the hotel room,

           [Docs. 155, 156, 280], be DENIED.

           II.   Motion to suppress search and seizure re: traffic stop, [Doc. 282]:

                 At the evidentiary hearing, the government announced that it was not going to

           introduce in its case-in-chief any evidence from an October 4, 2010, traffic stop in

           Lamar County, Ga. T5-9.




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                  Accordingly, the undersigned RECOMMENDS that the motion to suppress

           regarding the traffic stop, [Doc. 282], be GRANTED AS MOOT.

           III.   Motions to suppress searches of 943 Peachtree Street, Apt. 707,
                  [Docs. 278, 326], and 6746 Grey Rock Way, [Docs. 279, 327]

                  In these motions, Bushay seeks to suppress evidence seized as a result of the

           execution of two federal search warrants on December 15, 2010, at two locations.

                  A.    943 Peachtree Street, Apartment 707, Atlanta, Ga.

                        1.     Facts

                  On December 15, 2010, Gordon applied for a federal search warrant from

           Magistrate Judge Brill to search the above-described target address. [Doc. 326-1

           (application and affidavit for search warrant, case number 1:10-MJ-1911-GGB

           (N.D. Ga. Dec. 15, 2010)) ]. In his attached affidavit, Gordon averred that in addition

           to his experience as a local police officer in Georgia, including as of that time 6 years

           as a local narcotics detective, he had been a DEA TFO since 1996. [Id. at 2]. Gordon

           stated that he had participated in hundreds of narcotics investigations, including those

           involving money laundering, and had been involved in numerous investigations where

           Title III court-approved electronic surveillance was used. [Id.]. He further related that

           through his training and experience, discussions with other law-enforcement officers



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           and debriefings of cooperating defendants, cooperating sources, and other witnesses,

           he was familiar with the methods of operation typically used by drug traffickers,

           including the types and amounts of profits they make, their methods, language, and

           terms used to disguise the source and nature of their drug dealings, and the methods

           they use to thwart detection, arrest, and lawful proof of their activities, including the

           use of nominees to hold title to property and assets. [Id. 2-3; see also id. at 3-5

           (detailing drug-trafficking practices); 11 n.5 (use of nominees)].

                 Gordon continued that the target premises was a nearly 700-square-foot

           three-room condominium in the Metropolis condominium building in Atlanta, which

           has a 24-hour on-duty concierge, limited-access elevators, and private parking, and is

           accessible only via key card or access codes. [Id. at 3 & n.1].

                 Gordon also stated that various consensual and court-authorized intercepted

           telephone calls were recorded and that many of the calls were in Jamaican Patois24, and

           that the calls were monitored by Jamaican Patois-speaking monitors and

           agents. [Id. at 6]. He then related that federal law enforcement was investigating an

           Atlanta-based drug-trafficking organization, and that a confidential source (CS-1) had

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                      The affidavit stated that Jamaican Patois is an English-African Creole
           language principally spoken in Jamaica or communities with strong ties to
           Jamaica. [Doc. 326 at 7 n3].

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           provided information on Devon Samuels, a Customs and Border Protection (CBP)

           officer at the Atlanta airport who used his law-enforcement position to smuggle aliens

           into the United States and assist drug traffickers. CS-1 stated that Samuels was paid

           between $400-$5000 per trip to transport drug proceeds in the United States and

           Jamaica, using his credentials and position to avoid detection and suspicion. CS-1

           further related that due to his position, Samuels had access to the Treasury Enforcement

           Communications System (TECS), which identifies targets/subjects of Immigration and

           Customs Enforcement investigations, and that Samuels performed TECs searches on

           himself and his associates. Gordon averred that a review of Samuels’s TECS searches

           reflected that he searched TECS for himself, Bushay, and Mark Tomlinson. [Id. at 8-9].

                 Gordon also advised that Samuels was the target of three sting operations

           involving the transportation of currency and firearms through the Atlanta airport. On

           November 3, 2010, an undercover officer posing as a drug dealer gave Samuels

           $22,000 in purported drug proceeds. With Tomlinson’s assistance, and by using his

           badge to avoid security screening, Samuels smuggled the money to Jamaica, where it

           was delivered to a Jamaican undercover agent posing as a drug trafficker. On

           November 19, 2010, Samuels and his wife (who worked for Delta Airlines) smuggled

           $50,000 in supposed drug proceeds to Jamaica, turning them over to undercover

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           Jamaican police officers. Finally, on November 30, 2010, Samuels smuggled $20,000

           in purported drug money and 5 guns he received from an undercover police officer into

           the Atlanta airport and turned them over to another undercover officer who claimed he

           was going to a meeting with Mexican drug traffickers in Arizona. [Id. at 8].

                 Gordon then stated that the investigation led agents to identify Bushay and Otis

           LNU as leaders of an MDMA and marijuana distribution investigation who used

           various distributors, brokers and couriers, including Tomlinson, Damian Aarons, Curtis

           Hernandez, Christopher Dixon, Ricardo Duncan and Roshaun Hood, to facilitate their

           operations. In April 2010, they intercepted a series of calls where Tomlinson was

           discussing the return of low-grade marijuana, which resulted in the seizure of $101,000

           in currency found following a traffic stop. [Id. at 9]. Later in April and in May,

           intercepted telephone calls of Dixon led to the search of three packages of marijuana

           which had been mailed, resulting in the seizure of 45 pounds of marijuana. Later in

           May 2010, Dixon sold 3000 MDMA pills to a confidential source. [Id. at 9-10].

                 In June, intercepted phone calls revealed that Dixon ordered 5000 MDMA pills

           from Dixon, who ordered them from Bushay. Dixon and Duncan were later stopped

           in a stolen car and 4000 MDMA pills and a handgun were seized. Then, on October 1,

           2010, a search warrant was executed at a location believed to be occupied or controlled

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           by Otis, and 700,000 MDMA pills (hidden in various locations including the wall

           insulation), 25 pounds of marijuana, $39,000 and one stolen firearm were

           recovered. [Id. at 10].

                 The affidavit continued that on October 4, 2010, Bushay and others were stopped

           for an observed traffic violation while driving from Atlanta to Florida, and Bushay

           provided the target address as his residence, and he registered that address with the

           Georgia driver’s-license authorities. Also, in August 2010, Bushay was intercepted

           telling Christopher Williams (referred to as “Washington”) to meet him at that location,

           referred to as “the condo.” [Id. at 11]. On August 11, 2010, Bushay’s phone call with

           Washington was intercepted, in which Bushay asked Washington if he was planning

           on using the condo that weekend, and when Washington replied that he was not,

           Bushay told him that was good because “I have paper and something in there . . . and

           a stash there that I want to show you.” [Id.]. Gordon believed that “paper” and

           “something” were code for drug proceeds and controlled substances. [Id.]. On the

           same day, intercepted calls led agents to believe that Bushay was headed to the condo

           to meet Hood, and cell-site data reflected that Bushay was in the vicinity of the condo.

           On the same date in another intercepted conversation, this time with an individual

           named “Sugar,” who law enforcement also believed was involved in the drug trade,

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           Bushay acknowledged (albeit in code) that it was his condo, that drug proceeds were

           stored there, and that he was going to install a safe. [Id. at 12-13].

                 Then, on August 14, 2010, Bushay and Washington were intercepted discussing

           what the agents interpreted as meaning that there were drugs stored there in the

           safe. [Id. at 13]. On September 27, 2010, Bushay and Washington were intercepted

           discussing what the agents believed was Bushay asking whether drugs or proceeds were

           put away (“is everything put up”) because Bushay was planning on bringing a female

           to the condo. [Id.].

                 Gordon then related that on October 6, 2010, in an intercepted telephone call,

           Bushay asked Washington, “did you leave anything in the room . . . the thing that I saw

           you counting?”, which agents believed was a reference to counting drug proceeds. At

           the time of the conversation, Bushay was in the lobby of the condo while cell-site data

           indicated that Washington was nearby or at the condo. [Id. at 14].

                 In a call between Bushay and Hood intercepted on November 18, 2010, Bushay

           asked Hood whether he wanted any “keisha” (code for marijuana). After Hood asked

           about price, Bushay stated he was getting it “for 45” ($450 per pound) and could sell

           it “for 5” ($500 per pound). Visual surveillance showed Hood walking into the lobby

           of the condo building, and Hood was observed not carrying anything. Bushay was

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           intercepted telling Hood to advise the person at the front desk to let him come up to the

           seventh floor, and they confirmed that he would go to the condo unit. Forty minutes

           later, Hood was observed leaving carrying a red bag, which led agents to believe that

           he had just bought marijuana. [Id. at 14-15].

                        2.     Bushay’s contentions

                 Bushay first contends that the warrant was not supported by probable cause. In

           support, he argues that paragraphs 8 through 11 of the affidavit either did not pertain

           to Bushay at all, contained unsupported conclusions, or did not pertain to the condo.

           [Doc. 326 at 3].

                 Next, as to paragraphs 12 through 20, he first claims that the reference in ¶ 18

           about “is everything put up” being inferred to hiding contraband or currency is an

           unsupported inference. He then argues that the October 6 conversation referenced in

           ¶ 16, which showed that no money was in the condo, does not support the existence of

           probable cause for December 15, 2010. [Id. at 4]. He then argues that the conclusion

           that Bushay sold marijuana to Hood on November 18, 2010, is speculative, since there

           was no stop or seizure of any marijuana from Hood. [Id.].

                 He next argues that the information was stale because the affidavit at best

           showed drugs or money at the location in August, over four months before the search

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           warrant was issued. [Id. at 5]. He also argues that there was too little information in

           paragraphs 12 through 20 to establish that contraband or evidence would be located in

           the residence. He also contends that Gordon’s interpolations of telephone calls are

           insufficient to support a finding of probable cause as to the residence. [Id. at 6-7].

                        3.     Legal Standards

                 Search warrants are presumed to be validly issued. Franks v. Delaware,

           438 U.S. 154, 171 (1978). The burden of establishing that the warrants in this case

           were defective is upon the defendant. Id.; United States v. Van Horn, 789 F.2d 1492,

           1500 (11th Cir. 1986); United States v. Marx, 635 F.2d 436, 441 (5th Cir. Unit B 1981);

           United States v. Osborne, 630 F.2d 374, 377 (5th Cir. 1980).

                 Probable cause to support the issuance of a search warrant exists when the

           totality of the circumstances allow a conclusion that there is a fair probability of finding

           contraband or evidence at a particular location. See United States v. Gonzalez, 940 F.2d

           1413, 1419 (11th Cir. 1991). “[P]robable cause is a fluid concept - - turning on the

           assessment of probabilities in particular factual contexts[.]” Illinois v. Gates, 462 U.S.

           213, 232 (1983). The task of the issuing magistrate judge in determining whether to

           issue a warrant “is simply to make a practical, common-sense decision whether, given

           all the circumstances set forth in the affidavit before him, including the ‘veracity’ and

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           ‘basis of knowledge’ of persons supplying hearsay information, there is a fair

           probability that contraband or evidence of a crime will be found in a particular place.”

           Id.; United States v. Jiminez, 242 F.3d 1243, 1248 (11th Cir. 2000). To avoid “rigid”

           legal rules, Gates changed the “two-pronged test” of Aguilar v. Texas, 378 U.S. 108,

           114 (1964), into a totality-of-the-circumstances test. See Gates, 462 U.S. at 230-35.

           Under the Gates totality-of-the-circumstances test, the “veracity” and “basis of

           knowledge” prongs of Aguilar for assessing the usefulness of an informant’s tips are

           not independent. Rather, “they are better understood as relevant considerations in the

           totality of the circumstances analysis that traditionally has guided probable cause

           determinations: a deficiency in one may be compensated for . . . by a strong showing

           as to the other[.]” Gates, 462 U.S. at 233. That is, “[w]hen there is sufficient

           independent corroboration of an informant’s information, there is no need to establish

           the veracity of the informant.” United States v. Martin, 297 F.3d 1308, 1314 (11th Cir.

           2002) (citing United States v. Danhauer, 229 F.3d 1002, 1006 (10th Cir. 2000)).

                 In deciding whether to issue a search warrant, the issuing judge may rely upon

           the opinions and conclusions of an experienced law-enforcement agent-affiant,

           Robinson, 62 F.3d at 1331 n.9, since “[c]onduct innocent in the eyes of the untrained

           may carry entirely different ‘messages’ to the experienced or trained observer.” United

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           States v. Gonzalez, 969 F.2d 999, 1004 (11th Cir. 1992) (quoting United States v.

           Fouche, 776 F.2d 1398, 1403-04 (9th Cir. 1985)).

                 To satisfy the probable-cause standard, the government “must reveal facts that

           make it likely that the items being sought are in that place when the warrant issues.”

           United States v. Harris, 20 F.3d 445, 450 (11th Cir. 1994); United States v. Domme,

           753 F.2d 950, 953 (11th Cir. 1985). Thus, for probable cause to exist, the information

           supporting the government’s application for a search warrant must be timely, for

           probable cause must exist when the magistrate judge issues the search warrant. Sgro

           v. United States, 287 U.S. 206, 210 (1932) (“[I]t is manifest that the proof must be of

           facts so closely related to the time of the issue of the warrant as to justify a finding of

           probable cause at that time.”); Domme, 753 F.2d at 953; United States v. Bascaro,

           742 F.2d 1335, 1345 (11th Cir. 1984).            Warrant applications based upon stale

           information generally fail to establish probable cause that similar or other improper

           conduct is continuing. Harris, id.; Bascaro, 742 F.2d at 1345.

                 The Eleventh Circuit has framed as follows the issue of staleness:

                        When reviewing staleness challenges we do not apply some
                 talismanic rule which establishes arbitrary time limitations for presenting
                 information to a magistrate, rather, we review each case based on the
                 unique facts presented. Bascaro, 742 F.2d at 1345; Domme, 753 F.2d
                 at 953; Sgro, 287 U.S. at 210. In this case-by-case determination we may

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                 consider the maturity of the information, nature of the suspected crime
                 (discrete crimes or ongoing conspiracy), habits of the accused, character
                 of the items sought, and nature and function of the premises to be
                 searched. See United States v. Hooshmand, 931 F.2d 725, 735-36
                 (11th Cir. 1991); Bascaro, 742 F.2d at 1345; Cauchon v. United States,
                 824 F.2d 908, 911 (11th Cir. 1987); United States v. Pless, 982 F.2d 1118,
                 1126 (7th Cir. 1992); United States v. Bucuvalas, 970 F.2d 937, 940
                 (1st Cir. 1992); and United States v. Rugh, 968 F.2d 750, 754 (8th Cir.
                 1992). Ultimately, however, even stale information is not fatal if the
                 government affidavit updates, substantiates, or corroborates the stale
                 material. See Bascaro, 742 F.2d at 1346 (additional circumstantial
                 evidence coupled with defendant’s preexisting involvement with
                 conspiracy supported probable cause determination). See also Bucuvalas,
                 970 F.2d at 940.

           Harris, id. Thus, “[i]n general, the basic criterion as to the duration of probable cause

           is the inherent nature of the crime.” United States v. Haimowitz, 706 F.2d 1549, 1555

           (11th Cir. 1983) (internal quotation marks and citation omitted). “[W]here an affidavit

           recites a mere isolated violation then it is not unreasonable to believe that probable

           cause quickly dwindles with the passage of time. On the other hand, if an affidavit

           recites activity indicating protracted or continuous conduct, time is of less

           significance.” Bascaro, 742 F.2d at 1345-46 (quoting Bastida v. Henderson, 487 F.2d

           860, 864 (5th Cir. 1973)); see also United States v. Bervaldi, 226 F.3d 1256, 1265

           (11th Cir. 2000) (“When criminal activity is protracted and continuous, it is more likely




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           that the passage of time will not dissipate probable cause.” (quoting Domme, 753 F.2d

           at 953)).

                 Further, an affidavit in support of a search warrant for a suspect’s residence

           “should establish a connection between the defendant and the residence to be searched

           and a link between the residence and any criminal activity.” United States v. Martin,

           297 F.3d 1308, 1314 (11th Cir. 2002). Thus, where a warrant to search a residence is

           sought, the affidavit must supply the authorizing magistrate judge with a reasonable

           basis for concluding that Defendant might keep evidence of his crimes at his home, i.e.,

           a “safe yet accessible place.” United States v. Kapordelis, 569 F.3d 1291, 1310

           (11th Cir. 2009) (quoting United States v. Feliz, 182 F.3d 82, 87-88 (1st Cir. 1999)).

           “[T]he nexus between the objects to be seized and the premises searched can be

           established from the particular circumstances involved and need not rest on direct

           observation.” United States v. Lockett, 674 F.2d 843, 846 (11th Cir. 1982). With regard

           to a suspect’s home, the Kapordelis Court reiterated that:

                 “[t]he justification for allowing a search of a person’s residence when that
                 person is suspected of criminal activity is the common-sense realization
                 that one tends to conceal fruits and instrumentalities of a crime in a place
                 to which easy access may be had and in which privacy is nevertheless
                 maintained. In normal situations, few places are more convenient than
                 one’s residence for use in planning criminal activities and hiding fruits of
                 a crime.”

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           Kapordelis, 569 F.3d at 1310 (quoting United States v. Green, 634 F.2d 222, 226

           (5th Cir. Unit B Jan. 1981)). The Kapordelis Court continued:

                 There need not be an allegation that the illegal activity occurred at the
                 location to be searched, for example the home, but “the affidavit should
                 establish a connection between the defendant and the residence to be
                 searched and a link between the residence and any criminal activity.” [ ]
                 Martin, 297 F.3d [at] 1314 [ ]; see United States v. Anton, 546 F.3d 1355,
                 1358 (11th Cir. 2008) (evidence of possession of contraband of type
                 normally expected to be hidden in residence will support search); United
                 States v. Jenkins, 901 F.2d 1075, 1080-81 (11th Cir. 1990) (nexus between
                 items to be seized and defendant’s home can be established
                 circumstantially where contraband is capable of being hidden in
                 residence). But see Green, 634 F.2d at 226 (convenience of defendant’s
                 residence “for use as a place to plan and hide fruits of the crime [was] thus
                 diminished, if not eliminated” where alleged obstruction of justice,
                 suborning of perjury, and violations of citizen’s civil rights took place
                 thousands of miles from home in absence of other evidence linking
                 residence and the criminal activity).

           Kapordelis, 569 F.3d at 1310.

                 Then, the task of a reviewing court is not to conduct a de novo determination of

           probable cause, but only to determine whether there is substantial evidence in the

           record supporting the magistrate judge’s decision to issue the warrant, Massachusetts

           v. Upton, 466 U.S. 727, 728 (1984). The reviewing court “should not interpret

           supporting affidavits in a hypertechnical manner; rather, a realistic and commonsense

           approach should be employed so as to encourage recourse to the warrant process and



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           to promote the high level of deference traditionally given to magistrates in their

           probable cause determinations.”       United States v. Miller, 24 F.3d 1357, 1361

           (11th Cir.1994); see also Robinson, 62 F.3d at 1331 (requiring reviewer to afford “great

           deference to judicial determination of probable cause to issue a search warrant”) (citing

           Gonzalez, 940 F.2d at 1419).

                        4.     Analysis

                 The Court concludes that Bushay’s arguments about the deficiencies of the

           943 Peachtree Street condo should be rejected. First, the information was not stale, in

           that it showed a consistent pattern of using the location to store drug proceeds or

           contraband, culminating in a purchase of marijuana at the location less than a month

           before the warrant was sought. As the Eleventh Circuit has indicated, where the

           conduct in the affidavit “recites activity indicating protracted or continuous conduct,

           time is of less significance.” Bervaldi, 226 F.3d at 1265 (internal quotation marks

           omitted). “Protracted and continuous activity is inherent in large-scale drug trafficking

           operations.” Bascaro, 742 F.2d at 1346. Here, there is evidence that from at least June

           2010, Bushay was involved in the distribution of large quantities of MDMA and

           marijuana and that these transactions were facilitated at the condo. [Doc. 326-1 at

           ¶ 11(d) (June deal involving 5000 MDMA pills); id. ¶ 14 (August 11 discussion about

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           “paper” and “stash” at the condo); id. ¶ 16 (August 11 conversation where Bushay

           states that he has “paper” and is installing a safe at the condo); id. ¶ 17 (August 14

           conversation between Bushay and Washington in which Bushay asked Washington

           “How is the condo? Do you have anything in the condo?”, to which Washington

           replied, “I got the thing.” Bushay then stated, “It is in there,” and Washington replied,

           “Yes, it is clean and nice, everything good.”), which reasonably could be interpreted

           as indicating that drugs were stored in the condo safe; ¶ 19 (October 6 conversation

           about counting proceeds in the condo); ¶ 20 (November 18 conversation between

           Bushay and Hood about purchasing marijuana from condo, and subsequent call during

           consummation of that transaction).

                 Second, the affidavit established probable cause to believe that Bushay was

           trafficking in drugs. The CS’s information that Samuels was violating the law and his

           oath of office, including his improper use of the TECS computer, was corroborated by

           the undercover transactions and verification of his misuse of TECS by querying

           Bushay. Moreover, Bushay’s telephone conversations, during which he used cryptic

           language reasonably interpreted by the experienced law-enforcement agent-affiant as

           pertaining to an ongoing drug trafficking, established that he was using the condo to

           facilitate his drug trafficking. Bushay asks the Court to interpret the affidavit in a

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           hypertechnical manner, evaluating each fact in isolation, but the Court’s task is

           otherwise. The Supreme Court, in fact, has warned lower courts of the error of “not

           consider[ing an officer’s] affidavit in its entirety” and “judging bits and pieces of

           information in isolation .” Upton, 466 U.S. at 732. In addition, the issuing judge was

           authorized to issue the warrant based on the affiant’s reasonable interpretation of the

           intercepted telephone calls. United States v. v. Garcia, 447 F.3d 1327, 1335

           (11th Cir. 2006); United States v. Flores, No. 1:05-cr-558-WSD-JFK, 2007 WL

           2904109, at *48 (N.D. Ga. Sept. 27, 2007) (concluding that in determining existence

           of probable cause to issue warrant, Magistrate Judge properly relied on affiant’s

           interpretation of seemingly innocuous words and conversations intercepted over wire

           intercepts). The same rationale applies to defeat Bushay’s argument about the lack of

           corroboration of Gordon’s conclusion that Hood purchased marijuana from Bushay on

           November 18. Also, the issuing judge could rely on Gordon’s statement in the affidavit

           of his familiarity with drug traffickers’ practices as a result of his training and

           experience, including commonly keeps records and proceeds of their illicit activities

           in private and secure locations such as their residences. [See Doc. 326-1 at 3-5].

                 Finally, there was a sufficient nexus between Bushay, his criminal activity, and

           the condo. The affidavit sets forth multiple events demonstrating that Bushay was

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           using the condo to facilitate his drug dealing, and the issuing Magistrate Judge was

           authorized to conclude that there was probable cause to believe that evidence of Bushay

           and others’ drug crimes would be located at the condo.

                 As a result, the undersigned RECOMMENDS that Bushay’s motion to suppress

           evidence at 943 Peachtree Street, Unit 707, [Docs. 278, 326], be DENIED without an

           evidentiary hearing.

                 B.     6746 Grey Rock Way, Lithonia, GA

                        1.     Facts

                 On December 15, 2010, Gordon applied for a federal search warrant from

           Magistrate Judge Brill to search the above-described target address. No. 1:10-MJ-

           1905-GGB (N.D. Ga. Dec. 15, 2010). [Doc. 327-1]. The affidavit contained the same

           preamble as to Gordon’s training and experience, drug-trafficking practices, and

           information relating to Samuels and others in paragraphs 8 through 10, as contained in

           the condo search-warrant application. [See id. at 1-5].

                 In addition, on April 9, 2010, Tomlinson was observed arriving at the Grey Rock

           location in a vehicle registered to Samuels. A short time later, a vehicle registered to

           Aarons arrived at the location, and stayed for 15 minutes. After the Aarons vehicle left,

           Tomlinson was intercepted calling Hargreaves, and Tomlinson told her to meet him at

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           the location. The context of the conversation indicated that Hargreaves and Tomlinson

           had previously met at Grey Rock. Hargreaves was seen arriving at the location and

           meeting with Tomlinson, although the surveilling agents could not tell if Tomlinson

           gave anything to Hargreaves. Shortly after this meeting, Hargreaves’ vehicle was

           stopped, resulting in the seizure of over $101,000. [Id. at 10].

                 On October 5, 2010, following the 153 kilograms of MDMA seizure from Otis

           on October 1, Bushay and Tomlinson were intercepted. Tomlinson stated that “the

           whole situation makes me nervous” and Bushay stated that “I need to take out those

           things over by me.” In a later call, Bushay told Tomlinson to “go over to my place and

           take everything out.” Tomlinson updated Bushay on his status of arriving at Grey

           Rock. [Id. at 11]. A subsequent phone call indicated that Bushay’s girlfriend (who was

           using the location as her residence) was at Grey Rock. [Id.].

                 Geo-location data further indicated that Tomlinson was near the Grey Rock

           residence when he told Bushay that there was a van in the garage, with Bushay

           directing Tomlinson to “to use the van in the garage to take the product and it will be

           easier to move, transport the product.” Bushay also told Tomlinson to “place the

           product in the van by taking off the top a halfway and place the product in there and

           place the top back down, everything should fit.” [Id. at 11-12]. Gordon interpreted

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           these calls to mean that while Tomlinson was at Grey Rock, Bushay was directing him

           to place the narcotics in a hidden compartment in the van. Gordon represented that

           using hidden compartments in vehicles was a routine practice of drug

           traffickers. [Id. at 12].

                  On November 22, 2010, Bushay was intercepted speaking with his brother

           (Roger Yee), who told Bushay that he had a firearm that he took from underneath the

           bed. Bushay instructed Yee to give the firearm to Bushay’s girlfriend, but because the

           girlfriend was sleeping, Yee put it under his mattress. A subsequent telephone call

           between Bushay and his girlfriend confirmed that she knew the gun was under Yee’s

           mattress. [Id. at 12]. Gordon had included in his affidavit a statement that based on his

           training and experience, drug traffickers very often possess firearms for the purpose of

           protecting their drug trafficking enterprise from the efforts of law enforcement and

           those who might attempt to steal drugs or money from them. [Doc. 327-1 at 5].

                  Gordon also related that law enforcement was unable to conduct trash pulls at the

           location, concluding that because drug traffickers are aware that law enforcement

           commonly conducts trash pulls at drug dealers’ residences, Bushay and Tomlinson did

           not put trash outside the residence in an effort to thwart law enforcement’s

           efforts. [Id. at 13]. Gordon also stated that since September 2010, Bushay, Tomlinson,

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           and “Club Intrigue” received six UPS packages at Grey Rock. Finally, Gordon opined

           that based on geo-location data, Bushay was using Grey Rock as his principal

           residence. [id. at 13-14].

                         2.    Bushay’s contentions

                    Bushay first argues that the evidence at best demonstrates that there was

           contraband at the residence no later than October 5, 2010, when the residence was

           cleaned out, and thus the December 15 warrant application was stale and untimely. He

           argues that experience indicates that drug dealers change residences and “drop” cell

           phones in order to evade detection, and thus it was highly improbable that drugs or

           currency would be at the Grey Rock on December 15. [Doc. 327 at 5]. He also argues

           that the affidavit failed to establish a nexus between the crimes under investigation and

           the location to be searched. [Id. at 6-7].

                               3.       Analysis

                    The Grey Rock warrant was supported by probable cause. The evidence shows

           that Bushay and Tomlinson were using the residence to facilitate their drug-dealing

           activities. Contrary to Bushay’s argument, the information in the affidavit was not

           stale.    From April through October, the residence was used to further their

           drug-trafficking activities. Unlike the example given by Bushay in his motion,

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           however, Bushay did not abandon the residence, but instead continued to use it as his

           residence. He and Tomlinson continued to use it to receive UPS packages, Bushay

           frequently slept there, his girlfriend and brother stayed there, and at least one firearm

           was kept under a mattress at that location. Notably, there is indication that the

           occupants avoided placing their trash outside for pickup in order to thwart a

           law-enforcement trash pull. The affidavit did not state that the trash was inspected yet

           no evidence was found; instead, the affidavit relates that the occupants did not put the

           trash outside. An experienced law-enforcement officer could reasonably find this

           behavior very suspicious, and the issuing Magistrate Judge was justified in considering

           this evidence as probative of the continuation of Bushay and Tomlinson’s use of the

           premises in their drug dealing.       Thus, based on the nature of the crime under

           investigation, the issuing magistrate judge was authorized to conclude that the

           supporting affidavit was not stale and that probable cause existed.

                 As for the required nexus, the affidavit demonstrated that Bushay and Tomlinson

           used the premises to facilitate their narcotics trafficking, first - - at a minimum - - as

           a meeting point between Tomlinson and Hargreaves before Hargreaves was stopped

           with over $101,000 in her vehicle, and second as a place to store controlled substances

           and a van with a secret compartment. Also, since Grey Rock was used as Bushay’s

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           principal residence, it was reasonable for the issuing judge to infer that records,

           currency, firearms and other evidence of Bushay’s narcotic trafficking would be stored

           at that location.

                  As a result, the undersigned RECOMMENDS that Bushay’s motion to suppress

           evidence seized as a result of the search warrant at 6746 Grey Rock Way, Lithonia, Ga.,

           be DENIED without an evidentiary hearing.

           III.   Motion to sever defendant re: Bruton problem, [Doc. 283]

                  In this motion, Bushay seeks a severance from any of his co-defendants who

           made statements implicating him, pursuant to Bruton v. United States, 391 U.S. 123

           (1968).25 However, his motion does not state which co-defendant, if any, made

           statements implicating Bruton, and if any of them did, whether any such co-defendants

           are going to trial or have pleaded guilty. As such, the Court is unable to evaluate the




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                         In Bruton, the Supreme Court held that post-arrest statements made by
           non-testifying co-defendants that facially incriminate other defendants are inadmissible
           into evidence because such statements violate the other defendants’ Sixth Amendment
           rights to confront and cross-examine adverse witnesses. The Supreme Court concluded
           that “where the powerfully incriminating extra-judicial statements of a co-defendant,
           who stands accused side-by-side with the defendant, are deliberately spread before the
           jury in a joint trial,” limiting instructions by the court will not suffice to eliminate the
           prejudicial effect of the introduction of such statements. Bruton, 391 U.S. at 135-36.

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           motion and any remedial efforts undertaken by the government to avoid a Bruton

           problem.

                 As a result, the undersigned DEFERS the motion for severance, [Doc. 283], to

           the District Court.

           IV.   Conclusion

                 For all of the above reasons, the undersigned RECOMMENDS that the

           following motions filed by Defendant Jerome Bushay be DENIED:

                 (1) motion to suppress statements, [Doc. 155];

                 (2) motion to suppress evidence, [Doc. 156];

                 (3) first motion to suppress search and seizure re: 943 Peachtree, Apt. 707,

           [Doc. 278];

                 (4) supplemental motion to suppress search and seizure re: 943 Peachtree,

           Apt. 707, [Doc. 326];

                 (5) first motion to suppress search and seizure re: 6746 Grey Rock Way,

           [Doc. 279];

                 (6) supplemental motion to suppress search and seizure re: 6746 Grey Rock

           Way, [Doc. 327]; and

                 (7) motion to suppress search and seizure re: hotel room, [Doc. 280].

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                 The Court further RECOMMENDS that the motion to suppress search and

           seizure re: traffic stop, [Doc. 282], be GRANTED AS MOOT. The motion to sever

           defendant re: Bruton problem, [Doc. 283], is DEFERRED TO THE DISTRICT

           COURT.

                 The Court has now ruled on all of this Defendant’s pretrial motions. As a result,

           the case is CERTIFIED READY FOR TRIAL AS TO THIS DEFENDANT.26

                 IT IS SO RECOMMENDED, ORDERED and CERTIFIED, this the 24th day

           of January, 2012.




                                                    ALAN J. BAVERMAN
                                                    UNITED STATES MAGISTRATE JUDGE




                 26
                        Since matters pertaining to Defendant’s codefendants are still pending, the
           District Court is not required to place this Defendant’s case on the trial calendar at this
           time. 18 U.S.C. § 3161(h)(6).

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